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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 In re: Search Warrant Executed on                           Case No.: 21 Misc. 813 (AT)
 November 5, 2021



 In re Search Warrant Executed on                            Case No.: 21 Misc. 819 (AT)
 November 3, 2021


 In re Search Warrant Executed on                            Case No.: 21 Misc. 825 (AT)
 November 3, 2021
                                                            SPECIAL MASTER ORDER


       By Order dated December 8, 2021 (the “Order”), the Court appointed me as Special Master

in each of the above-captioned matters to determine what materials seized by the Government are

responsive to the search warrants, as well as to rule on any privilege objections raised by the parties

following review of responsive materials by the Government’s filter team.

       The first round of documents found by me to be responsive has now been provided by the

Government’s filter team to the Petitioners, and each has objected to disclosure of those materials

based upon responsiveness grounds and/or based upon First Amendment journalistic privilege

issues. Counsel for Mr. O’Keefe and Project Veritas now asks for leave to brief certain issues to

me. That application is resolved as follows:

            1. I will resolve Petitioners’ objections related to responsiveness, which have already

                been submitted. Consistent with my previous order, the investigative team shall

                not be provided with any briefing by Petitioners as to such objections. However,

                in order to make some determinations, I may require the investigative team to

                respond to questions I ask, without reference to the underlying content of any

                seized item.
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